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8
                          UNITED STATES DISTRICT COURT
9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     SHARON MORRIS,                     ) Case No. 2:11-CV-04293-E
11                                      )
     Plaintiff,                         ) NOTICE OF SETTLEMENT
12
                                        )
13          vs.                         )
                                        )
14
     LIGHTHOUSE RECOVERY                )
15   ASSOCIATES, LLC,                   )
                                        )
16
     Defendant.                         )
17   __________________________________ )
18

19          NOW COMES THE PLAINTIFF by and through her attorney to respectfully
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     notify this Honorable Court that this case has settled. Plaintiff requests that this
21
     Honorable Court allow sixty (60) days with which to file dispositive documentation. A
22

23   Stipulation and Order for Dismissal will be forthcoming. This Court shall retain

24   jurisdiction over this matter until fully resolved.
25
                   Respectfully submitted this 23rd day of August, 2011.
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27
                                               By: s/Todd M. Friedman
                                                  TODD M. FRIEDMAN
28                                                Law Offices of Todd M. Friedman, P.C.
                                                  Attorney for Plaintiff


                                           Notice of Settlement - 1
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1    Filed electronically on this 23rd day of August, 2011, with:
2
     United States District Court CM/ECF system
3

4
     Notification sent electronically on this 23rd day of August, 2011, to:

5    Honorable Charles F. Eick
6
     United States District Court
     Central District of California
7

8
     Aimee R. Morris
     Morris Law, P.C.
9    Attorney for Defendant
10
     The 23rd day of August, 2011
11
     s/Todd M. Friedman
12
     Todd M. Friedman
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                                          Notice of Settlement - 2
